      Case 3:21-cv-01676-BAS-BGS Document 10 Filed 09/29/21 PageID.144 Page 1 of 2
                                              United States District Court
                                               SOUTHERN DISTRICT OF CALIFORNIA


                                                                                   Case No.         3:21 -cv-01676
           James Fahr, et al.                                Plaintiff,
                                                      V.                     PRO HAC VICE APPLICATION
           City of San Diego, et al.                       Defendant.              Plaintiffs
                                                                                  Party Represented


I,       William Sack                                              hereby petition the above entitled court to permit me
                                (Applicant)

to appear and participate in this case and in support of petition state:
       My firm name:        Firearms Policy Coalition
       Street address:      5550 Painted Mirage Road Suite 320
             City, State, ZIP:
                            Las Vegas, NV 89149
             Phone number:  916-596-3492
                           -- ---------------------------
             Email:         WSack@FPCLaw.Org

             That on     10/26/2018               I was admitted to practice before          The Pennsylvania Supreme Court
                                 (Date)                                                                      (Name of Court)

             and am currently in good standing and eligible to practice in said court,
             that I am not currently suspended or disbarred in any other court, and
             that I fx..1:llite) D have not) concurrently or within the year preceding this application made
             any pro hac vice application to this court.
                                          (If previous application made, complete the following)
Title of case          Renna, et al. v. Bonta, et al.
Case Number            3:20-cv-2190                                               Date of Application 5/27/2021
Application: Ix! Granted      D Denied
       I declare under penalty of perjury that the foregoing is true and correct



                                            DESIGNATION OF LOCAL COUNSEL
I hereby designate the below named as associate local counsel.
     Raymond DiGuiseppe                                                             910-713-8804
(Name)                                                                            (Telephone)


     The DiGuiseppe Law Firm, P.C.
(Finn)

     4320 Southport-Supply Road Suite 300                                    Southport, NC                                     28461
(Street)
                                                                                 [CHy)    ~                                    (Zip code)



                                                                                  (Signature of Applicant)

I hereby consent to the above designation.                                        ~nd7tt.D#.
                                                                                  SigeofDesignee Attorney)                 ~
    Case 3:21-cv-01676-BAS-BGS Document 10 Filed 09/29/21 PageID.145 Page 2 of 2

Pro Hae Vice (For this one particular occasion)

An attorney who is not a member of the California State Bar, but who is a member in good standing of,
and eligible to practice before, the bar of any United States court or of the highest court of any State or
of any Territory or Insular possession of the United States, who is of good moral character, and who has
been retained to appear in this Court, be permitted to appear and participate in a particular case. An
attorney is not eligible to practice pursuant to this paragraph if any one or more of the following apply
to him/her: (1) he/she resides in California, (2) he/she is regularly employed in California, or (3) he/she
is regularly engaged in business, professional, or other activities in California.

The pro hac vice application shall be presented to the Clerk and shall state under penalty of perj ury
(1) the attorney's residence and office address, (2) by what court he/she has been admitted to practice
and the date of admission, he/she is in good standing and eligible to practice in said court,
(4) that he/she is not currently suspended or disbarred in any other court, and (5) if he/she has
concurrently or within the year preceding his/her current application made any pro hac vice application
to this court, the title and the case number of each matter wherein he made application, the date of
application, and whether or not his/her application was granted. He/She shall also designate in his
application a member of the bar of this Court with whom the Court and opposing counsel may readily
communicate regarding the conduct of the case and upon whom papers shall be served. He/She shall
file with such application the address, telephone number and written consent of such designee.

Fee: $213.00

If application and fee require submission via U.S. Mail, please contact:

                                                      CASO Attorney Admissions Clerk
                                                      (619) 557-5329



The pro hac vice application for William Sack representing Plaintiffs is hereby:

0   APPROVED for fil ing                        (E DENIED           See Civ. L.R. a3 .3 (c)(S)

Date. September 29, 2021                        It is so ordered.   ~~
                                                                    Honorable Cynthia Bashant
